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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

ARNOLD PEOPLES and J.P., by her               )
father and next friend,                       )
ARNOLD PEOPLES,                               )
                                              )
               Plaintiffs,                    )
                                              )
               v.                             )       Case No: 1:19-cv-00568
                                              )
OSWEGO COMMUNITY SCHOOL                       )
DISTRICT, DINAH MEYERS, TIFFANI               )
SIMMONS, CHRISTINE NELSON, and                )
ALEX GONZALEZ,                                )
                                              )
               Defendants.                    )

            AGREED MOTION FOR A HIPAA QUALIFIED PROTECTIVE ORDER

       NOW COME the Defendants, the BOARD OF EDUCATION OF THE OSWEGO

COMMUNITY SCHOOL DISTRICT, DINAH MEYERS, TIFFANI SIMMONS, CHRISTINE

NELSON, and ALEX GONZALEZ and, pursuant to 42 U.S.C. § 1395x(s) and (u), and 45 C.F.R.

Parts 160 and 164 (HIPAA), request that this Court enter a HIPAA qualified protective order, a

copy of the proposed HIPAA Order having been submitted to the Court’s email inbox. In support

thereof, Defendants state as follows:

       1.      Plaintiffs have filed this case against Defendants in which the medical conditions

and treatments of the Plaintiff Arnold Peoples and Plaintiff J.P. are relevant.

       2.      The treating physicians, hospitals, and other health care providers disclosed by

Plaintiffs in this case are all "covered entities" as defined by 45 C.F.R. § 160.103. HIPAA

prohibits covered entities from disclosing protected health information in judicial proceedings

other than by authorization or qualified protective order. 45 C.F.R. § 164.512(e) (2012).

       3.      These covered entities are all in possession of "protected health information"

("PHI") as defined by 45 C.F.R. §§ 160.103 and 164.501, in the form of medical records
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(imaging, test results, insurance documents, notes, labs, correspondence, pathology, etc.)

pertaining to Plaintiffs.

        4.      Both the prosecution and defense of this case will require that the Parties, their

attorneys, their attorneys' agents, consultants and various witnesses and other personnel

receive and review copies of the PHI pertaining to Plaintiffs, which is in the treating providers'

possession.

        WHEREFORE, the Defendants respectfully requests that this Court enter the proposed

order permitting the use and disclosure of PHI created or received by any covered entity that

has provided health care to Plaintiffs for any purpose connected with the pending litigation.


                                      OTTOSEN DINOLFO HASENBALG & CASTALDO, LTD.

                                      /s/ Stephen H. DiNolfo
                                      Attorney for Defendants Oswego Community
                                      School District, Meyers, Simmons, Nelson, and
                                      Gonzalez

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